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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS

CRAIG CUNNINGHAM,                                §
Plaintiff,                                       §
                                                 §
v.                                               §
                                                 §
AMERICAN GENERAL LIFE                            § Civil Case No.: 4:17-cv-125
INSURANCE COMPANY                                §
Defendant.                                       §
                                                 §
                                                 §



                                Plaintiff’s Original Complaint

     1. The Plaintiff in this case is Craig Cunningham, a natural person and is resident of

          Davidson County at all times relevant to the complaint, and currently has a

          mailing address of 5543 Edmondson Pike, ste 248, Nashville, TN 37211

     2. American General Life Insurance Company (“AIG”) may be served at 2727A

          Allen Parkway, Houston, TX 77019.

                                          Jurisdiction

     3.   Jurisdiction of this court arises as the acts happened in this district.

     4. This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

          arises under the TCPA, which is a federal statute.


     5. This Court has personal jurisdiction over Defendants because Defendants conduct

          significant amounts of business within this District and is headquartered in this

          District.
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6. Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant

     conducts significant amounts of business within this District, because the

     wrongful conduct was emanated from this District, and because Defendant is

     headquartered in this District.




                                FACTUAL ALLEGATIONS



7.   During the year 2016, the Plaintiff received multiple phone calls to the Plaintiff’s

     cell phone which connected the Plaintiff to an agent. Specifically the defendant

     attempted to call and called 615-348-1977 on December 14, 2016 and August 24,

     2016 without the Plaintiff’s consent.

8. The calls started with a pre-recorded message after several seconds of dead air

     time.

9. When the calls connected to an agent, the Plaintiff was ultimately issued a policy

     of insurance by American General Life Insurance Company. Policy Number

     YMCE248261 was issued by Agency Number 9EB27. In every call, the Plaintiff

     noticed a delay between answering the phone and the call connecting with a live

     person, which is characteristic of an automated telephone dialing system. This is

     just one of many harassing calls the plaintiff has received.

10. The Defendant also used an automated telephone dialing system to call the

     Plaintiff’s cell phone in violation of the TCPA, 47 USC 227(b) and 47 USC

     227(c)(5) as codified under 47 CFR 64.1200(b)

11. The calls violated 47 USC 227(b) as the calls were automated and placed to the
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   Plaintiff’s cell phone without the Plaintiff’s consent and without an emergency

   purpose.

12. The calls violated 47 CFR 64.1200(b) as the artificial or pre-recorded message

   failed to state at the beginning of the message the identity of the business,

   individual, or entity that is responsible for initiating the call. In fact, no name was

   given for the entity placing the call and even the agents only stated who they were

   calling from after the Plaintiff asked repeatedly.

13. These calls were knowingly and willfully placed and the Defendants had or

   should have ascertained they were calling the wrong person.

                                  Actual Damages

14. Plaintiff has suffered actual injury as a result of Defendant’s telephone calls,
    including, but not limited to:

   • Reduced Device storage space;

   • Data usage;

   • Plan usage;

   • Lost time tending to and responding to the unsolicited texts;

   • Invasion of Privacy and loss of concentration


                              CAUSE OF ACTION:

            Violations of the Telephone Consumer Protection Act (TCPA)

15. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.

16. The foregoing actions by the Defendants constitute multiple breaches of the

   TCPA by placing automated calls without the Plaintiff’s consent to the Plaintiff’s

   Cell phone.
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                       PRAYER FOR DAMAGES AND RELIEFS

    A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests that

       judgment be entered against Defendants

    B. Statutory damages of $500 for each phone call

    C. $50,000 in actual damages

    D. Costs of bringing this action; and

    E. For such other and further relief as the Court may deem just and proper



Dated: January 16, 2017



                                                  /s/ Aaron K. Mulvey__________

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